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1 IN THE UNITED STATES DISTRICT COURT

2 FOR THE NORTHERN DISTRICT OF OKLAHOMA

4 |} UNITED STATES OF AMERICA,
5 Plaintiff,
6 | vs. Case No. CR-09~-43-SPF

7 | LINDSEY KENT SPRINGER and
OSCAR AMOS STILLEY,

Defendants.

15 _ TRANSCRIPT OF SENTENCING PROCEEDINGS
16 BEFORE THE HONORABLE STEPHEN P. FRIOT
17 UNITED STATES DISTRICT JUDGE

18 APRIL 21, 2010 a

19 VOLUME I OF III

Tracy Washbourne, RDR, CRR
United States Court Reporter
U.S. Courthouse, 200 N.W. 4th St. . A |
Oklahoma City, OK 73102 * 405.609.5505 60 L

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BRIAN SHERN - CROSS BY MR. SPRINGER 39

THE COURT: Mr. Springer, cross-examination.
CROSS-EXAMINATION

BY MR. SPRINGER:

Q. Good morning, Mr. Shern.

A. Good morning.

QO. Mr. O'Reilly referred to you as a special agent, correct?
A. Yes.

Q. Special agent for the Secretary of the Treasury; is that
correct?

A. For the Internal Revenue Service.

Q. Internal Revenue Service?

A. Yes.

Q. Not the Secretary of the Treasury?

A I believe the Internal Revenue Service falls under the

Secretary of the Treasury.
Q. Okay. And you are a delegate of the Secretary of the
Treasury; is that correct?

MR. O'REILLY: Objection. Beyond the scope of direct
and relevance.

THE COURT: Overruled.

THE WITNESS: can you repeat the question, please?
Q. (BY MR. SPRINGER) Are you a delegate of the Secretary of
the Treasury of the United States?
A. Yes.

Q. Okay. When did you (sic) make you a delegate?

Tracy Washbourne, RDR, CRR
United States Court Reporter
U.S. Courthouse, 200 N.W. 4th St.
Oklahoma City, OK 73102 * 405.609.5505

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BRIAN SHERN - CROSS BY MR. SPRINGER 40

A. I don't know.

MR. O'REILLY: Objection, Your Honor; relevance.

THE COURT: Overruled. We'll -- I'm going to hear
this for a while, we'll see how much, but it will be
overruled.

Q. (BY MR. SPRINGER) When you say "special agent," that's
what you're referring to is you're a delegate of the Secretary

of Treasury; is that correct?

A. Yes.
Q. Okay. And -—
A. I guess to answer your prior question about -- when I said

"T don't know, I would assume I became a delegate whenever I
became a special agent.
Q. Okay. Are you familiar -- scratch that.

Is there anybody between you and the Secretary of the
Treasury that you get your delegation order to be a special

agent from that you know of?

A. I'm not sure I know how to answer that.
Q. Thank you. If you would turn to Exhibit -- Government's
Exhibit Number 134, please -- excuse me -- 1134, please. Do

you remember testifying earlier today with regard to Dale
Hedberg -- I'm sorry, 1001, I'm sorry, Your Honor. I'm sorry.
I'm sorry. I'm sorry. It's 1001. I'm sorry, Agent Shern.
It's 1001; Exhibit Number 1001.

Do you remember testifying earlier about a check written

Tracy Washbourne, RDR, CRR
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August 5, 2010
_UNITED STATES COURT OF APPE: ALS); isabeth A. Shumaker

Clerk of Court
FOR THE TENTH CIRCUIT

LINDSEY K. SPRINGER,

Plaintiff-A ppellee,

Vv. No. 09-5088
(D.C. No. 4:06-CV-00156-GKF-FHM)
CHRISTOPHER D. ALBIN; JASON (N.D. Okla.)

C. WHITE; DONALD A.
ANDERSON; MARC K. COLLINS;
KATHY L. BECKNER; DONALD G.
SHOEMAKE; BRIAN SHERN;
WILLIAM R. TAYLOR; SCOTT. A.
WELLS: DIANA S. MEGLI; LOY
DEAN SMITH,

Defendants-A ppellants.

ORDER AND JUDGMENT

Before McKAY, Circuit Judge, BRORBY, Senior Circuit Judge, and EBEL,
Circuit Judge.

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After examining the briefs and appellate record, this panel has determined
unanimously that oral argument would not materially assist the determination of
this appeal. See Fed. R. App. P. 34(a)(2); 10th Cir. R. 34.1(G). The case is —
thereiore ordered submitted without oral argument. This order and judgment 1S
not binding precedent, except under the doctrines of law of the case, res judicata,
and collateral estoppel. [t may be cited, however, for its persuasive value
consistent with Fed. R. App. P. 32.1 and 10th Cir. R. 32.1.

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Case 4:09-cr-00043-SPF Document 440-2 Filed in USDC ND/OK on 02/16/11 Page 6 of 20
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Lindsey K. Springer, proceeding pro se,! brought a Bivens action against
eleven special agents of the Internal Revenue Service (IRS), asserting that they
violated his Fourth Amendment rights by stealing $2,000 during or following the
execution of a search warrant at his home. See Bivens "Six Unknown Named
Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971) (recognizing cause of
action for damages against federal agents acting under their authority who
allegedly violated plaintiff's Fourth Amendment rights). The district court denied
the agent’s motion for summary judgment, which was based in part on qualified
immunity. In this interlocutory appeal, the agents appeal the district court’s
denial of qualified immunity. We first conclude that we have jurisdiction under
28 U.S.C. § 1291 to consider the legal questions presented in this appeal. Sce
Thomas y. Durastanti, 607 F.3d 655, 658-59, 662 (10th Cir. 2010) (recognizing |
that this court considers only legal questions when considering interlocutory
appeal from denial of qualified immunity). Also, we conclude that there was no
clearly established law that the agents’ conduct violated the Fourth Amendment.
Accordingly, we reverse the denial of qualified immunity and remand to the

district court to enter judgment in favor of the agents.

Because Mr. Springer has proceeded pro se at all times, we liberally.
construe all of his filings. See Kay v. Bemis, 500 F.3d 1214, 1218 (10th Cir,

2007).

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BACKGROUND

On September 16, 2005, the agents executed a search warrant at
Mr. Springer’s home as part of an investigation into his tax activities. The
warrant authorized seizure of currency and other items. During the exevution of
the warrant, Jeanie Springer, Mr. Springer’s wife, told the agents about currency
in her bedroom dresser drawer. The currency consisted of $20 and $100 bills
separated into bundles. Agent Loy Dean Smith photographed the currency, and
Agents Donald A. Anderson and William R. Taylor separately counted it in front
of Mrs. Springer. Both agents determined there was approximately $19.000.
Agent Taylor prepared an evidence tag for the currency, stating on the tag that
there was approximately $19,000 in cash. Based on the evidence tag, Agent
Christopher D. Albin then recorded in the inventory of items seized that
approximately $19,000 had been seized pursuant to the warrant.

Agents Taylor and Brian Shern took the currency to a bank to have it
counted and to obtain a cashier’s check. The bank teller. using a counting
machine, counted the money twice, each time informing the agents that there was
only $17,000. The agents obtained a cashier’s check in that amount. .

A week later, Mr. Springer filed a motion in district court for the return of
the currency. See Fed. R. Crim. P. 41(g). The court denied the motion without
prejudice. Thereafter, assistant United States attorneys instructed Agent Shern to

return the money to Mr. Springer. Agent Shern obtained a $17,000 Treasury

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Appellate case: 09-5088 Document: (1018515811 Date Filed 10/75/2030 Pace

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Department check and gave it to Mr. Springer. Upon receiving the check,
Mr. Springer signed a release, agreeing to hold the IRS and its agents harmless
from any claims, demands, damages, or legal action with respect to the seizure.
Approximately two months later, Mr. S pringer brought this Bivens action
against the agents seeking the return of the $2,000 and damages of $1,000,000
from each agent for violating his Fourth Amendment rights. Three agents moved
to dismiss the complaint for failure to state a claim upon which relief could be
granted, asserting the lawfulness of the seizure of the currency under the warrant
and the unavailability of a Bivens remedy because Mr. Springer had a remedy
under the Federal Tort Claims Act (FTCA), 28 U.S.C. §§ 1346, 2671-2680." The
district court denied the motion, reading Mr. Springer’s allegations broadly to
‘include the possibility the $2,000 was taken at his home. Also, noting “the
Fourth Amendment is not confined to seizures that are the outcome of a search,”
the court could not conclude at that time “that the protection of the Fourth
Amendment could not extend to a seizure of Springer’s $2,000 if it occurred
sometime after the IRS agents’ search of Springer’s home.” Aplt. App.. Vol. | at

49. Lastly, the court decided that the FTCA was not an exclusive remedy.

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The FTCA generally provides that the United States is liable for “loss of
property... caused by the negligent or wrongful act or omission of any employee
of the Government while acting within the scope of his office or employment.”

28 U.S.C. § 1346(b).

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The agents then individually filed answers and collectively moved for
judgment on the pleadings, asserting that because Mr. Springer had not presented
a constitutional claim, they were entitled to qualified immunity and that he had
not alleged facts showing that each agent was involved personally in the alleged
wrongful conduct. The district court denied the motion. First, the court declined
to alter its previous conclusion that it lacked sufficient evidence to determine
whether the agents’ alleged conduct violated the Fourth Amendment. Also, the
court decided that the availability of a remedy under the FTCA or state law did
not defeat a Bivens action. Further, citing Peoples v. CCA Detention Centers.
422 F.3d 1090 (10th Cir. 2005), vacated in part, 449 F.3d 1097 (10th Cir. 2006)
(en banc) (per curiam), the court noted that the Tenth Circuit has not determined
“whether the availability of FTCA and/or state court remedies precludes
[Mr. Springer] from asserting a Bivens claim.” Aplt. App., Vol. 2 at 271. The
court therefore concluded that Mr. Springer had adequately alleged a
constitutional violation against the agents. The agents appealed, but later
withdrew their appeal.

The agents also moved in district court for summary judgment arguing that
they are entitled to qualified immunity because their conduct did not violate the
Fourth Amendment and the alleged Fourth Amendment violation is not clearly
established. The district court denied summary judgment, first noting that it had

already rejected the agents’ argument that no Fourth Amendment claim could

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exist. Further, the court found that there are genuine issues of material fact
remaining for trial “concerning whether the amount of money discovered in
[Mr. Springer’s| house was actually $19,000... or only approximately $19,000"
and “whether, where and how $2,000 of the cash disappeared.” Aplt. App.,
Vol. 2 at 370-71. Also, the court found that it had previously rejected the agents’
argument that no Fifth Amendment claim was available because Mr. Springer had
an adequate post-deprivation remedy under the FTCA.

The agents moved to alter or amend the judgment under
Fed. R. Civ. P. 59(e), asserting their entitlement to qualified immunity because
their conduct did not violate Mr. Springer’s Fourth Amendment rights in light of
available post-deprivation remedies and because the alleged Fourth Amendment
right, ifit exists, is not clearly established. The district court denied the motion,
deciding a Fourth Amendment right was clearly established because Bivens had
been in effect for more than thirty years. Also. the court pointed to Carfson v.
Green, 446 U.S. 14, 19-20 (1980), where the Supreme Court held that an
available remedy under the FTCA did not defeat a Bivens claim. Thereatter, the
agents appealed from the denial of Rule 59(e) relief. The next day, they filed an
amended notice of appeal, appealing from both the opinion and order denying
their motion for summary judgment, as well as the order denying Rule 59(e)

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JURISDICTION

As an initial matter, we consider Mr. Springer’s motion to dismiss for lack
of jurisdiction. He makes three separate jurisdictional arguments.

First, Mr. Springer argues that this appeal is untimely because the agents
previously appealed from the district court’s denial of qualified immunity asserted
in their motion for judgment on the pleadings, but later withdrew the appeal. He
contends that that motion and the summary-judgment motion raised the saine
arguments and that the agents failed to present new evidence in the
summary-judgment motion to support the same qualified immunity claim they
previously raised. We conclude that Mr. Springer’s argument lacks merit.

Although there is some overlap between the agents’ qualified-immunity
assertions in their motion for judgment on the pleadings and those in ther motion
for summary judgment, the arguments in the summary-judgment motion were
more fully developed and relied on the agents’ declarations, which were not

referred to in the motion for judgment on the pleadings. Furthermore, the district
court’s analysis of the motion for judgment on the pleadings focused on the
allegations in the complaint, whereas the court’s analysis of the motion for
summary judgment looked to the evidence presented in the light most favorable to
Mr. Springer. See Behrens y. Pelletier, 516 U.S. 299, 309 (1996). Due to the

difference tn analysis,
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[i]t is clear that a defendant may assert qualified immunity through a

motion to dismiss, take an appeal from the, denial of such a motion,

and if the appeal is resolved unfavorably to him, renew the issue of

qualified immunity by way of a motion for summary judgment,

appealing once again, if necessary, from the denial of the summary

judgment motion.

Walker v, City of Orem, 451 F.3d 1139, 1146 n.5 (10th Cir. 2006); see also
Behrens, 516 U.S. at 306-11 (recognizing that interlocutory appeals are permitted
both at appeal of denial at dismissal stage and at later appeal of denial of
summary judgment after further factual development).*

Next, Mr. Springer argues that we lack jurisdiction to hear this appeal
because the district court found that the agents’ qualified immunity claims are
based upon disputed facts that must be decided by a jury. “{A] defendant, entitled
to invoke a qualified immunity defense, may not appeal a district court's
summary judgment order insofar as that order determines whether or not the
pretrial record sets forth a ‘genuine’ issue of fact for trial.” Johnson y. Jones,
515 U.S. 304, 319-20 (1995); see also Thomas, 607 F.3d at 659 (“An appellate

court lacks jurisdiction in an interlocutory qualified immunity appeal to resolve

genuine disputes of fact.”). In other words, “we are not at liberty to review a

Even if Mr. Springer’s argument had merit, the agents withdrew their first
appeal, and this is therefore our first opportunity to consider the qualified
immunity issue. Cf Grant y. City of Pittsburgh, 98 F.3d 116, 120 (3d Cir, 1996)
(deciding there was no merit to argument that party may not appeal denial of
motion for summary judgment where motion raises same legal arguments as prior
motion to dismiss that was not appealed).

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district court’s factual conclusions, such as the existence of a genuine issue of
material fact for a jury to decide, or that a plaintiff's evidence is sufficient to
support a particular factual inference.” Zia Trust Co. ex rel. Causey v. Montoya,
597 F.3d 1150, 1152 (10th Cir. 2010) (quotation marks omitted). Indeed, our
review must “scrupulously avoid second-guessing the district court’s
determinations regarding whether [a plaintiff] has presented evidence sufficient to
survive suminary judgment.” Clanton y. Cooper, 129 F.3d 1147, 1153 (10th Cir.
(997).

But under the collateral order doctrine of Cohen v. Beneficial Industrial
Loan Corp., 337 U.S. 541, 546 (1949), “a district court’s denial of a claim of
qualified immunity, to the extent that it turns on an issue of law, is an appealable
‘final decision’ within the meaning of 28 U.S.C. § 1291 notwithstanding the
absence ofa final judgment.” Mitchell y. Forsyth, 472 US. 511, 530 (1985).
Under the doctrine, “summary judgment determinations are appealable when they
resolve a dispute concerning an abstract issue of law relating to qualified
immunity-typically, the issue whether the federal right allegedly infringed was
clearly established[.]” Behrens, 516 U.S. at 313 (alteration omitted) (citation
omitted) (internal quotation marks omitted).

“When a district court denies qualified immunity because of a factual
dispute, that finding is not jurisdictionally dispositive on appeal it the defendants

argue that immunity applies even under the plaintiff’s version of the facts.”

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alrmijo ex rel. Armijo Sanchez v. Peterson, 601 F 3d 1065, 1070 (10th Cir. 2010)
(quotation marks omitted); see also id. at 1074. Thus. “a district court's decision
concerning the existence of a factual dispute is not dispositive of jurisdiction if
the defendants can persuade us that, viewing those facts in the light most
favorable to the plaintiff, qualified immunity is warranted.” Thomas, 607 F.3d at
662.

Even though the district court in this case concluded “that controverted
issues Of fact remain, [we] may consider the legal question of whether the
[agenis’] conduct, taken as alleged by [Mr. Springer], violates clearly established
law.” Thomas, 607 F.3d at 659. Even under the facts alleged by Mr. Springer,
we decide a “purely legal” issue of whether those facts can “support a claim of
violation of clearly established law.” Johnson, 515 U.S. at 313 (quotation marks
omitted). We therefore are not required to resolve any genuine issues of material
fact. And as the agents argue, whether currency was seized, lost, or stolen 1s
irrelevant to the legal questions posed in this appeal.

Next, Mr. Springer argues that we lack jurisdiction because a Rule 59(e)
motion applies only to judgments and the district court’s orders of April 7, 2009
denying summary judgment and of May 21 denying Rule 59(e) relief were not
judgments. The Supreme Court has stated, however, that a district court's “order
rejecting the defense of qualified immunity at... the summary judgment stage is

a ‘final’ judgment subject to immediate appeal.” Behrens, 516 U.S. at 307. ft

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therefore follows that the summary-judgment order may be challenged by a
Rule 59(e) motion before an appeal is taken. See Fed. R. Civ. P. 54(a) (defining
“judgment” as “any order from which an appeal lies”); Lora v. O'Heaney,
602 F.3d 106, 110 (2d Cir. 2010) (stating timely filed Rule 59 motion tolls time
for filing appeal from ruling denying qualified immunity): Roque-Rodrigues y.
Lema Moya, 926 F.2d 103, 106 (1st Cir. 1991) (deciding that because district
court's rejection of qualified immunity and denial of summary judgment was
“functional equivalent of a judgment for purposes of appeal,” court's order *came
within the purview of” Rule 59(e)); cf, Camacho vy. City of Yonkers, 236 F.3d 112,
114 n.2 (2d Cir. 2000) (assuming without deciding that appeal from order denying
dismissal on qualified immunity grounds was appealable judgment for purposes of
Fed. R. App. P. 4(a)(4)(A)(iv) and Rule 59(e)).
FOURTH AMENDMENT VIOLATION

We review de novo the district court's decision to deny the agenis’
sumimnary-judgment motion asserting qualified immunity. drmijo, 601 F.3d at
\070. Summary judgment is proper if “the pleadings, the discovery and
disclosure materials on file, and any affidavits show that there is no genuine issue
as fo any material fact and that the movant is entitled to judgment as a matter of
law.” Fed. R. Civ. P. 56(c)(2). We “construe the record in the hight most
favorable to” Mr. Springer. York v. City of Las Cruces, 523 F.3d 1205, 1210

(10th Cir. 2008) (quotation marks omitted).

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“Because of the underlying purposes of qualified immunity, we review
summary judgment orders deciding qualified immunity questions differently from
other summary judgment decisions. ” McBeth v. Himes. 598 F.3d 708,

(1 Oth Cir. 2010) (quotation marks omitted). Qualified immunity “protects
governmental officials from liability for civil damages insofar as their conduct
does not violate clearly established statutory or constitutional rights of which a
reasonable person would have known.” Pearson » Callahan, 1298S. Ct. 808, 815
(2009) (quotation marks omitted). Qualified immunity therefore is unavailable
only (1) if a constitutional violation occurred and (2) if the violated constitutional
right was clearly established when the violation occurred. Id. at 815-16. We may
address these inquiries in any order. Jd. at 818. Mr. Springer has the burden of
satisfying each inquiry. Thomas, 607 F.3d at 662.

The agents argue that there was no Fourth Amendment violation because
they participated in a seizure pursuant to a valid warrant, which authorized the
seizure of currency. The Fourth Amendment protects “[t]he right of the people to
be secure in their persons, houses, papers, and effects, against unreasonable
searches and seizures.” U.S. Const. amend. 1V. The Supreme Court has delined a
seizure as “some meaningful interference with an individual's possessory interests
n [his] property.” Soldal v. Cook County, 506 U:S. 56, 61 (1992) (quotation

marks omitted).

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In his complaint, Mr. Springer contended that the alleged $2,000 theti by
the agents occurred either during the execution of the search warrant at his home
or on the way to the bank. He stated that “$ 19.000 was seized and taken
pursuant to a Court Ordered Search Warrant from [his] home and possession and
because only $ 17,000.00 of said seizure actually:survived from the search of ©
[his] home to the depositing bank” the agents “stole $ 2,000.00 From (him |.”
Aplt. App., Vol. 1 at 38. Further, he asserted that the theft occurred at his home
while the agents served the warrant. /c. at 39. Liberally construing
Mr. Springer’s complaint, he clearly asserts that $19,000 was seized pursuant to a
warrant and the $2,000 theft occurred after the seizure. Mr. Springer, however.
does not challenge the initial seizure of the $19,000.*

We need not and do not decide whether the agents violated Mr. Springer’s
Fourth Amendment rights. Instead, we can more: easily and quickly decide the
clearly-established law question. See Pearson, 129 S, Ct. at 820. In declining to
decide the Fourth Amendment issue, we follow the principle of not deciding a
constitutional question when it ts possible to avoid doing so. /d. at 821.

We conclude that there was no clearly established law holding that a thett

of money during the execution of a valid search warrant violates the Fourth

* For the first time on appeal, Mr. Springer asserts that the search was

defective. Aplee. Br. at 22. We will not consider this issue because it was not
raised in the district court. See Walker v. Mather (In re Walker), 959 F.2d 394,
896 (10th Cir. 1992).

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Amendment. “The relevant dispositive inquiry in determining whether a right is
clearly established is whether it would be clear to a reasonable officer that his
conduct was lawful tn the situation he confronted.” Saucier v. Katz, 833 U.S.
194, 202 (2001); everruled in part on other grounds by Pearson, 129 S.Ct. at 818.

The key to the analysis is notice—an official somehow must be on

notice that the conduct.in question could violate the plaintitf’s

constitutional rights. There need not be precedent declaring the

exact conduct at issue to be unlawful, as Idng as the alleged

unlawfulness was apparent in light of preexisting law.
DeSpuin ». Uphoff 264 F.3d 965, 979 (10th Cir. 2001) (quotation marks omitted),
“(Flor the law to be clearly established, there must be a Supreme Court or Tenth
Circuit decision on point, or the clearly established weight of authority from other
courts must have found the law to be as the plaintiff maintains.” 7homas,
607 F.3d at 669 (quotation marks omitted). “(T]here is no need that the very
action in question have previously been held unlawful.” Safford Unified Sch.
Dist. No. 1 ve. Redding, 129 S. Ct. 2633, 2643 (2009) (brackets omitted) (quotation
marks omitted). Rather, it is only necessary that the unlawfulness of the conduct
be apparent in light of the existing law. DeSpain, 264 F.3d at 979. The plaintiff
has the burden to cite law he believes is.clearly established. 7homus, 607 F.3d at
669.

Mr. Springer has failed to meet his burden. His citation to Biveny is
insufficient to show the unlawfulness of the agents’ conduct. Bivens generally

established a cause of action for damages againstifederal agents acting under their

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authority who violate a plaintiff’s Fourth Amendment rights. 403 U.S. at 389.
But the factual situation that led the Court to decide that the plaintiffs complaint

stated a cause of action under the Fourth Amendment in Bivens, is quite different
from that here.

Furthermore, neither the Tenth Circuit nor the Supreme Court had case law
on point in September 2005 establishing that a theft by federal agents of lawfully
seized currency during the execution of a valid search warrant violated the Fourth
Amendment. Other circuits, however, had considered a similar issue by
September 2005. Those circuits split on the Foutth Amendment issue.

Three of the four cases that had addressed ithe failure to return lawfully
seized property had held that there was no Fourth Amendment violation. [n Saul -
v. Cherry Valley-Springfield Central School District, 363 F.3d 177, 179 (2d Cir.
2004), a school teacher filed a § 1983 action against school officials for
unreasonably searching his classroom and taking, certain items.” He contended
that the failure to return the items was an unreasonable seizure of them. /c/. at
187. Because the initial seizure was reasonable, the Second Circuit held that the
defendants’ failure to return property did “not, by itself, state a separate Fourth

Amendment claim of unreasonable seizure.” /d.

° A Bivens suit against a federal agent is the federal equivalent of a suit

against State officials under § 1983. Hartman v. Moore, 547 U.S. 250, 254 nz
(2006). Thus, we cite to both Bivens and § 1983 cases as authority. |

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In fox v. Van Oosterum. 176 F.3d 342, 344 (6th Cir. 1999), the plaintiff
filed a § 1983 action seeking the return of his driver’s license. The Sixth Circuit
held there was no seizure and no violation of the plaintiffs Fourth Amendment
rights, because the plaintiff was not challenging the initial seizure of his wallet.
‘but. rather, only the refusal to return the license t to him. /d. at 349, 350 (noting
that seizure was complete before defendants refused to return license). The court
pointed out that “the Fourth Amendment protects an individual’s interest in
retaining possession of property but not the interest in regaining possession of
property.” /d. at 351. “Once the act of taking the property is complete. the

seizure has ended and the Fourth Amendment no longer applies.” /c/

In Lee v. City of Chicago, 330 F.3d 456, 458-59 (7th Cir. 2003), the
plaintiff's car was 1inpounded for evidentiary purposes. The plaintiff. in his
§ 1983 action, did not dispute this seizure. Rather, he contended that the City or
Chicago’s refusal to return the car after concluding its search unless he patd a lee
was an additional seizure under the Fourth Amendment. /c/, at 460. The Seventh
Circuit disagreed, holding that the Fourth Amendment applies to an individual's
interest in retaining property, not in regaining property that has been Jaw fulty
taken. /d. at 466. “Once an individual has been meaningfully dispossessed. the
seizure of the property 1s complete, and once justified by probable cause. that
seizure 1s reasonable.” /d. “Conditioning the car's release upon payment of

towing and storaye fees after the search was completed neither continued the

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